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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 IN RE:                                              Chapter 11
                                                     Case No. 14-14476-BFK
 Martha Lucia Tabares

                        Debtor.


 Goldman Sachs Mortgage Company

                        Plaintiff,

 v.

 Martha Lucia Tabares

                        Defendant.


                    OPPOSITION TO MOTION FOR RELIEF FROM STAY

               Martha Lucia Tabares (“Debtor”) hereby opposes the Motion for Relief from Stay

 [Dkt. 114] on the grounds that to the extent Debtor is behind, Debtor requests the opportunity to

 catch up her payments.

                                               /s/ Ronald J. Drescher
                                               Ronald J. Drescher
                                               Drescher & Associates, P.A.
                                               4 Reservoir Circle
                                               Suite 107
                                               Baltimore, MD 21208
                                               (410) 484-9000

                                               Counsel for Debtor
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                              CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 18th day of August 2016, a copy of the

 foregoing was served via CM/ECF upon:

 JUDY A. ROBBINS
 115 SOUTH UNION STREET, ROOM 210
 ALEXANDRIA, VA 22314
 TRUSTEE

 KATHRYN E. SMITS
 PO BOX 2548
 LEESBURG, VIRGINIA 20177


                                         /s/ Ronald J. Drescher
                                         Ronald J. Drescher




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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 IN RE:                                             Chapter 11
                                                    Case No. 14-14476-BFK
 Martha Lucia Tabares

                        Debtor.


 Goldman Sachs Mortgage Company

                        Plaintiff,

 v.

 Martha Lucia Tabares

                        Defendant.


                   ORDER DENYING MOTION FOR RELIEF FROM STAY

               Upon consideration of the Motion (“Motion”) of Goldman Sachs Mortgage

 Company for Relief From Stay [Dkt. 114] and the opposition to the Motion by Martha Lucia

 Tabres, and for good cause shown therefor, it is, by the United States Bankruptcy Court for the

 District of Maryland, hereby

               ORDERED, that the Motion be, and it is hereby, DENIED.




                                     ***END OF ORDER***
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 cc:

 RONALD J. DRESCHER
 4 RESERVOIR CIRCLE
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 BALTIMORE, MD 21208

 JUDY A. ROBBINS
 115 SOUTH UNION STREET, ROOM 210
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